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                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                               CHARLESTON DIVISION

 B.P.J. by her next friend and mother, HEATHER
 JACKSON,

                              Plaintiff,

                        v.                                Civil Action No. 2:21-cv-00316

 WEST VIRGINIA STATE BOARD OF                             Hon. Joseph R. Goodwin
 EDUCATION, HARRISON COUNTY BOARD
 OF EDUCATION, WEST VIRGINIA
 SECONDARY SCHOOL ACTIVITIES
 COMMISSION, W. CLAYTON BURCH in his
 official capacity as State Superintendent, DORA
 STUTLER in her official capacity as Harrison
 County Superintendent, and THE STATE OF
 WEST VIRGINIA,

                              Defendants,

                        and

 LAINEY ARMISTEAD,

                              Defendant-Intervenor.


  PLAINTIFF’S CONSOLIDATED REPLY MEMORANDUM OF LAW IN SUPPORT
     OF PLAINTIFF’S MOTION IN LIMINE TO EXCLUDE TESTIMONY AND
        EVIDENCE REGARDING CONTACT AND COLLISION SPORTS

       Plaintiff B.P.J., by and through her next friend and mother, Heather Jackson, submits this

reply memorandum in support of her motion (Dkt. 407) to exclude any testimony or the

introduction of any evidence regarding alleged safety risk associated with contact and collision

sports as irrelevant and unduly prejudicial under Federal Rules of Evidence 401, 402, and 403.

       As explained in Plaintiff’s motion, testimony or evidence regarding contact and collision

sports is not relevant to B.P.J.’s as-applied challenge because B.P.J. seeks to participate in cross

country and track and field, which are not contact or collision sports. Plaintiff’s motion is

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consistent with this Court’s previous recognition that “as applied to B.P.J., this law cannot possibly

protect the physical safety of other girl athletes. Cross country and track are not contact sports.

The physical ability of one athlete does not put another in danger in the way it might in another

sport like football or hockey.” (Dkt. No. 67 (PI Op.) at 11.)

       In opposing Plaintiff’s motion, the State and Intervenor do not argue that information

regarding contact and collision sports is actually relevant to B.P.J. Instead, they contend that under

the Equal Protection Clause and Title IX, the Court must focus on “the general attributes of the

affected class rather than the individual” and that “B.P.J.’s individual circumstances are beside the

point.” (Dkt. No. 428 (Intervenor and State Resp.) at 2–3.) As explained in her opposition to

Defendants’ motion for summary judgment, Defendants’ arguments are based on a faulty

application of heightened scrutiny that is inconsistent with Supreme Court precedent and the

Fourth Circuit’s decision in Grimm v. Gloucester County School Board, which upheld an as-

applied challenge by a transgender student under both the Equal Protection Clause and Title IX.

972 F.3d 586, 606–07 (4th Cir. 2020); (see Dkt. No. 331 (Pl.’s MSJ Opp.) at 33–37.) Far from

eliminating individuals from the analysis, Supreme Court decisions applying heightened scrutiny

to sex and gender discrimination emphasize that “estimates of what is appropriate for most” men

and women as a group cannot “justify denying opportunit[ies]” to people who fall “outside the

average description.” United State v. Virginia, 518 U.S. 515, 550 (1996).

       The State Defendants, Intervenor, and the Harrison County Board of Education and

Superintendent Doris Stutler (the “County Board Defendants”) also assert that information about

contact and collision sports is relevant to B.P.J.’s facial challenge. (Dkt. No. 428 (Intervenor and

State Resp.) at 3; Dkt. No. 420 (County Defs.’ Resp.) at 3.)) But B.P.J. does not bring a facial

challenge. She seeks only a declaration that H.B. 3293 “violate[s] Plaintiff’s rights” and an



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injunction prohibiting Defendants from enforcing H.B. 3293 against Plaintiff. (Dkt. No. 64 (Am.

Compl.) at 24.) To be sure, B.P.J.’s argument that H.B. 3293 is motivated by an impermissible

discriminatory purpose would necessarily mean that the statute is invalid both facially and as

applied to her. Romer v. Evans, 517 U.S. 620, 635 (1996); City of Cleburne, Tex. v. Cleburne

Living Ctr., 473 U.S. 432, 448 (1985). But information about contact and collisions sports is not

relevant to that argument because a law motivated by a discriminatory purpose is automatically

invalid in all its applications. Cf. Hunter v. Underwood, 471 U.S. 222, 233 (1985) (invalidating

statute based on discriminatory purpose without addressing whether statute would be constitutional

if it had been adopted without a discriminatory purpose).

                                         CONCLUSION

       For the foregoing reasons, and the reasons set forth in Plaintiff’s original motion, the Court

should preclude Defendants from offering any evidence, argument, or opinions regarding alleged

safety risk associated with contact and collision sports as irrelevant and unduly prejudicial under

Federal Rules of Evidence 401, 402, and 403.




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Dated: July 11, 2022                        Respectfully Submitted,
                                            /s/ Loree Stark
Joshua Block*                               Loree Stark (Bar No. 12936)
AMERICAN CIVIL LIBERTIES UNION              Nick Ward (Bar No. 13703)
FOUNDATION                                  AMERICAN CIVIL LIBERTIES UNION OF
125 Broad St.                               WEST
New York, NY 10004                          VIRGINIA FOUNDATION
Phone: (212) 549-2569                       P.O. Box 3952
jblock@aclu.org                             Charleston, WV 25339-3952
                                            Phone: (914) 393-4614
Avatara Smith-Carrington*                   lstark@acluwv.org
LAMBDA LEGAL                                nward@acluwv.org
3500 Oak Lawn Avenue, Suite 500
Dallas, TX 75219                            Kathleen Hartnett*
Phone: (214) 219-8585                       Julie Veroff*
asmithcarrington@lambdalegal.org            Zoë Helstrom*
                                            COOLEY LLP
Carl Charles*                               3 Embarcadero Center, 20th Floor
Tara Borelli*                               San Francisco, CA 94111
LAMBDA LEGAL                                Phone: (415) 693-2000
158 West Ponce De Leon Ave., Ste. 105       khartnett@cooley.com
Decatur, GA 30030                           jveroff@cooley.com
Phone: (404) 897-1880                       zhelstrom@cooley.com
ccharles@lambdalegal.org
tborelli@lambdalegal.org                    Katelyn Kang*
                                            Valeria M. Pelet del Toro*
Sruti Swaminathan*                          COOLEY LLP
LAMBDA LEGAL                                55 Hudson Yards
120 Wall Street, 19th Floor                 New York, NY 10001-2157
New York, NY 10005                          Phone: (212) 479-6000
Phone: (212) 809-8585                       kkang@cooley.com
sswaminathan@lambdalegal.org                vpeletdeltoro@cooley.com

Andrew Barr*                                Elizabeth Reinhardt*
COOLEY LLP                                  COOLEY LLP
1144 15th St. Suite 2300                    500 Boylston Street, 14th Floor
Denver, CO 80202-5686                       Boston, MA 02116-3736
Phone: (720) 566-4000                       Phone: (617) 937-2305
abarr@cooley.com                            ereinhardt@cooley.com

                                            *Visiting Attorneys

                                            Attorneys for Plaintiff




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                             Defendants,

                       and

 LAINEY ARMISTEAD,

                             Defendant-Intervenor.


                                CERTIFICATE OF SERVICE

       I, Loree Stark, do hereby certify that on this 11th day of July, 2022, I electronically filed

a true and exact copy of the Plaintiff’s Consolidated Reply Memorandum of Law in Support of

Plaintiff’s Motion In Limine to Exclude Testimony and Evidence Regarding Contact and

Collision Sports with the Clerk of Court and all parties using the CM/ECF System.


                                                    /s/ Loree Stark
                                                    Loree Stark
                                                    West Virginia Bar No. 12936



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